Case 2:21-mb-08297-JZB Document1 Filed 11/17/21 Page 1 of 2

Search and Seizure Warrant

UNITED STATES DISTRICT COURT

for the
District of Arizona

In the Matter of the Search of: | Case No. a \ - % m1 KA b

Ozzy Carl Watchman, Sr.

 

ELECTRONIC ISSUED SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search of the
following person or property located in the District of Arizona:

As further described in Attachment A.
The person or property to be searched, described above, is believed to conceal:
Buccal swabs and handprints of Ozzy Carl Watchman, Sr.

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property.

YOU ARE COMMANDED to execute this warrant on or before [x | I | o {
(not to exceed 1 4 days)
in the daytime 6:00 a.m. to 10 p.m.
CJ at any time in the day or night as I find reasonable cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to
the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to the United States Magistrate Judge on duty in
the District of Arizona.

C1) I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay of trial),
and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be searched or
seized (check the appropriate box) CX for 30 days (not to exceed 30)

C) until, the facts justifying, the later specific date of

Date and time issued: hoa. \ y Po | Hb q 2GA Q) ix

Judge’s signature

City and State: Phoenix, Arizona Honorable John Z. Boyle, U.S. Magistrate Judge

Printed name and title

 

 

 
Case 2:21-mb-08297-JZB Document1 Filed 11/17/21 Page 2 of 2

ATTACHMENT A

DESCRIPTION OF PERSON, PROPERTY, AND ITEMS TO BE SEARCHED

Buccal swabs and handprints of Ozzy Carl Watchman, Sr.

 
